Case 8:01-cv-00069-JDW-MSS Document 400 Filed 04/03/08 Page 1 of 6 PageID 3084




                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 MIGUEL PEREZ, et al.,

                       Plaintiffs,

                                                          CASE NO: 8:Ol-CV-69-T-27MSS

 PAVEX CORPORATION, a Florida
 corporation,

                       Defendant.


                                             ORDER

        BEFORE THE COURT is Defendant's Motion for Attorneys' Fees and Sanctions Relating

 to Claims of Plaintiff Susan Mckenna (Dkt. 278) and Plaintiffs' Memorandum in Opposition (Dkt.

 284). Upon consideration, Defendant's motion is DENIED.

        Plaintiff McKenna, a white female, initiated this action against Defendant Pavex Corporation

 alleging discrimination, retaliation, and hostile work environment in violation of 5 1981 and the

 Florida Civil Rights Act ("FCRA"). Among other allegations, Plaintiff alleged that her employment

 was terminated in violation of 5 1981 because she complained that white employees, including

 supervisors, harassed her African-American and Hispanic co-workers. (Dkt. 114, p. 10). On

 February 28, 2003, Defendant served on Plaintiff a Motion for Sanctions Pursuant to Fed. R. Civ.

 P. 11. (Dkt. 278-2). In its motion, Defendant argued that Plaintiff's 5 1981 claims were frivolous

 because as a Caucasian, Plaintiff had no cognizable claim for witnessing or complaining about the

 harassment of her African-American and Hispanic co-workers. (Dkt. 278-2, p. 3).

        After Defendant served its motion for sanctions, on March 3,2003, Plaintiff sought leave to

 amend the complaint to specify that she no longer alleged claims for hostile work environment and
Case 8:01-cv-00069-JDW-MSS Document 400 Filed 04/03/08 Page 2 of 6 PageID 3085



 intentional infliction of emotional distress.' (Dkt. 190). Plaintiff continued to assert her 5 1881

 retaliation claim. Defendant then moved for summary judgment on Plaintiff's FCRA and 5 1981

 discriminatory and retaliatory discharge claims. (Dkt. 227). Defendant's motion for summary

 judgment was granted and all of Plaintiff's claims were dismissed. (Dkt. 276).

          Pursuant to Fed. R. Civ. P. 11, Defendant seeks an award of its attorney's fees incurred in

 defense of Plaintiff's 5 1981 claim. Defendant asserts two grounds in support of Rule 11

 sanctions: (1) Defendant contends that Plaintiff and her attorney failed to investigate to determine

 there was no cognizable claim for retaliatory discharge pursuant to 5 1981 based on a white

 plaintiff complaining about harassment of non-white co-workers; and (2) Defendant contends

 Plaintiff knew she could not prove a prima facie case for retaliatory or discriminatory discharge

 because she knew Don Kesling, the Pavex supervisor to whom she complained about the

 harassment, was not the individual who terminated her (Dkt. 278, p. 1).

                                              Amlicable Standard

          In assessing Rule 11 sanctions, it is first determined whether the party's claims are objectively

 frivolous in view of the facts or law and, if they are, whether the person who signed the pleadings

 should have been aware that they were frivolous. McGuire Oil Co. v. Mapco, Inc, 958 F.2d 1552,

 1563 ( l l t h Cir. 1992). The objective standard for evaluating conduct under Rule 11 is

 "reasonableness under the circumstances" and "what was reasonable to believe at the time" the

 pleading was submitted. Baker v. Alderman, 158 F.3d 516, 524 ( l l t h Cir. 1998).

         The Eleventh Circuit requires a two-step inquiry as to (1) whether the party's claims are



            On May 28, 2003, Plaintiff's claims for hostile work environment and intentional infliction of emotional
 distress were dismissed. (Dkt. 208).
Case 8:01-cv-00069-JDW-MSS Document 400 Filed 04/03/08 Page 3 of 6 PageID 3086



 objectively frivolous; and (2) whether the person who signed the pleadings should have been aware

 that they were frivolous. Baker, 158 F.3d at 524. "Rule 11 sanctions are warranted when a party

 files a pleading that (1) has no reasonable factual basis; (2) is based on a legal theory that has no

 reasonable chance of success and that cannot be advanced as a reasonable argument to change

 existing law; and (3) is filed in bad faith for an improper purpose." Id.

                                               Discussion

         Defendant seeks sanctions pursuant to Rule 11(b)(2), which requires the attorney to certify

 that to the best of his knowledge, information and belief, "the claims, defenses and other legal

 contentions are warranted by existing law or by a non-frivolous argument for extending, modifying,

 or reversing existing law or for establishing new law." Fed. R. Civ. P. ll(b)(2).

         In support of her argument that she had a cognizable 3 1981 retaliation claim, Plaintiff relied

 on Sullivan v. Little Hunting Park, 396 U.S. 229 (1969) and two Eleventh Circuit cases, Andrews

 v. Lakeshore Rehabilitation Hospital, 140 F.3d 1405 (1 lth Cir. 1998) and Jackson v. Motel 6

 Multipurpose, 130 F.3d 999 (I 1th Cir. 1997). Although this Court was not persuaded by Plaintiff's

 argument or the authority she relied on when it granted summary judgment against her on her 3 1981

 claim, her argument in support of her 3 1981 retaliation claim cannot be said to have been patently

 frivolous.

        Notably, Andrews and Jackson were decided after Little v. United Teclzrzologies, 103 F.3d

 956 (1 lth Cir. 1997), the case on which this Court relied in dismissing Plaintiff's 3 1981 retaliation

 claim. In the Order granting Defendant's motion for summary judgment, this Court recognized that

 "the scope of relief available under 3 1981 with respect to retaliation claims appears to be largely an
Case 8:01-cv-00069-JDW-MSS Document 400 Filed 04/03/08 Page 4 of 6 PageID 3087



 open question in this circuit . . ." (Dkt. 276, p.              This Court also recognized that under different

 facts, the "Eleventh Circuit has permitted plaintiffs to assert retaliation claims under 3 1981." (Dkt.

 276, p. 10). Considering these cases, and that the viability of 3 1981 claims was "largely an open

 question," Plaintiff's argument in support of her § 1981 claim can be characterized as "nonfrivolous

 argument for extending, modifying ,or reversing existing law . . ." See Baker, 158 F.3d at 524 ("the

 purpose of Rule 11 is to deter frivolous lawsuits and not to deter novel legal arguments or cases of

 first impression"). By maintaining her 3 1981 retaliation claim, Plaintiff was merely attempting to

 preserve an argument that the holding in Little should be modified or abrogated and that this Circuit

 recognize her 3 1981 retaliation claim based on Sullivan. Moreover, Plaintiff had an arguable basis

 for this argument, given the discussion in Jackson. Plaintiff was entitled to preserve the issue without

 risk of sanctions. Accordingly, sanctions pursuant to Rule 1l(b)(2) are not warranted.

          Defendant also contends it is entitled to fees because Plaintiff lacked factual support for her

 retaliation claim. Specifically, Defendant contends Plaintiff knew she could not establish aprima

 facie case of retaliation because she knew that the Pavex supervisor to whom she complained about

 discrimination (Don Kesling) did not participate in the decision to terminate her employment.

 Defendant contends sanctions are appropriate pursuant to Christiansburg Garment Co. v. E.E.0.C.,

 434 U.S. 412 (1978), in which the Supreme Court held that "a district court may in its discretion

 award attorney's fees to a prevailing defendant . . . upon a finding the Plaintiff's action was




             See Andrews v. Lakeshore Rehabilitation Hosp. 140 F.3d at 1412(" Moreover, in a case shortly after Little,
 this Court noted that the Eleventh Circuit had "not yet addressed the types of retaliation claims cognizable under Q 1981
 in light of the Civil Rights Act of 199l.")(citing Reynolds v. CSX Transportation, Inc., 115 F.3d 860, 868 n. 10 (I lth
 Cir.1997).
Case 8:01-cv-00069-JDW-MSS Document 400 Filed 04/03/08 Page 5 of 6 PageID 3088




 frivolous, unreasonable, or without foundation, even though not brought in subjective bad faith."3

                 434 U.S. at 42 1.
  Christiarzsb~~rg,

           In support of its request for fees, Defendant contends that Plaintiff testified in her deposition

 that she knew Don Kesling did not participate in the decision to terminate her employment.

 Defendant's characterization of Plaintiff's testimony is not completely accurate. Plaintiff testified

 that she "had no idea" who made the decision to fire her and that regarding important issues, Kesling

 would "usually have advice from Orlando or Pompano, or somebody else in management would, you

 know, be aware of it." (McKenna Depo., pp. 130-131) (emphasis added). However, Plaintiff

 submitted additional evidentiary support for her contention that Kesling played a part in her

 termination. She testified that Kesling was the one who notified her of her termination and that

 Kesling signed her termination notice. (Dkt. 123). Although this evidence did not carry the day for

 Plaintiff and was, at best, weak, it cannot be said that her claim was completely unfounded or

 baseless.

          In sum, while Plaintiff ultimately did not prevail on her claim, she offered some evidence

 in support of her retaliation claim. Contrary to Defendant's contention, this was not a case where

 Plaintiff exhibited a "deliberate indifference to obvious facts" demonstrating she did not have a

 cause of action. See Baker, 158 F.3d at 524 (generally sanctions are warranted where a claimant

 exhibits "deliberate indifference to obvious facts"). Where, as here, Plaintiff's evidence is "merely

 weak but appears sufficient, after a reasonable inquiry, to support a claim under existing law,"

 sanctions are not warranted. See Baker, 158 F.3d at 524. Accordingly, it is



          3Arguably, similar relief is available pursuant to Rule 1 l(b)(3),   which permits the imposition of sanctions if
 factual contentions lack evidentiary support. Fed. R. Civ. P. 1l(b)(3).
Case 8:01-cv-00069-JDW-MSS Document 400 Filed 04/03/08 Page 6 of 6 PageID 3089



        ORDERED AND ADJUDGED that Defendant's Defendant's Motion for Attorneys' Fees

 and Sanctions Relating to Claims of Plaintiff Susan Mckenna (Dkt. 278) is DENIED.

        DONE AND ORDERED in chambers on this         3 d day of April, 2008.



                                                          States District Judge

 Copies to:
 Counsel of Record
